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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

JEFF BROWN, and SHERRI                       )               CASE NO. 8:12CV31
GOTHIER, Individually and as Co-             )
Special Administrators of the Estate         )
of KB, Deceased,                             )
                                             )
                      Plaintiffs,            )                      ORDER
                                             )
              v.                             )
                                             )
PROVIDENCE MEDICAL CENTER                    )
(Wayne, Nebraska), MERCY                     )
MEDICAL CENTER, Sioux City,                  )
MERCY MEDICAL SERVICES, and                  )
MERCY HEALTH SERVICES, Iowa,                 )
Corp.,                                       )
                                             )
                      Defendants.

       This matter is before the Court on the Motion for Attorney Fees, Costs and

Expenses and Motion to Stay, Pending Payment (Filing No. 34) filed by the Defendants.

In a case related to the present action, Brown et al. v. Providence Medical Center et al.,

8:10CV230, the Court granted the Plaintiffs’ Motion for Voluntary Dismissal “without

prejudice to the Plaintiffs’ filing of the action at a later date.” (Id. at Filing No. 196.) The

Court conditioned the refiling of any claim that had been presented in that case on the

Plaintiffs paying the “Defendants’ reasonable attorney fees, costs, and expenses incurred

in the defense of [that case] if” the Plaintiffs refiled any claim presented in that case in a

new action. (Id.)

       In the present Motions, the Defendants assert that the Plaintiffs have refiled claims

that they presented in the voluntarily dismissed case. The Defendants now seek to recover

their reasonable attorney fees, costs, and expenses incurred in defending the voluntarily

dismissed case, and request that the present action be stayed until they receive payment

of those fees, costs and expenses.
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       The Plaintiffs have in fact filed claims in the present action that are the same as

those the Plaintiffs filed in the related case that was voluntarily dismissed. Accordingly,

       IT IS ORDERED:

       The Defendants’ Motion for Attorney Fees, Costs and Expenses and Motion to Stay,

       Pending Payment (Filing No. 34) is granted, in part, as follows:

              The above-captioned action is stayed pending resolution of the Defendants’

              Motion for Attorney Fees, Costs and Expenses; and

       The Court will defer ruling on the Motion for Attorney Fees, Costs, and Expenses,

       pending the receipt of all briefs and evidentiary submissions of the parties.



       DATED this 7th day of March, 2012.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                             2
